                                                                                 CLERK'S OF ICE U . DIST. COURT
                                                                                        AT ROANOtr-E, VA
                                                                                             FILED
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               DANVILLE DIVISION

   UNITED STATES OF AMERICA,                   )
                                               )
                                               )       Case No. 4:18-cr-00011
                                               )
   v.                                          )
                                               )
   MARCUS JAY DAVIS, et al.,                   )
                                               )       By:    Michael F. Urbanski
          Defendants.                          )              United States District Judge

                                              ORDER

          The court entered an Oral Order on December 4, 2018, as to Defendants Marcus Jay

   Davis, Kevin Lamont Trent, Jr, Kanas Lamont'e Trent, Deshaun Lamar Trent, Phillip

   Daekwon Miles, Shabba Larun Chandler, Ashley Tiana Ross, Shanicqua Lattice Coleman,

   Tenikqua Fuller, Laquante Tarvares Adams, J aquan Lamont Trent, their counsel, and other

   members of the defense team. The Oral Order prohibited the aforementioned parties from

   sharing information regarding the identity of witnesses contained in Production 5 with any

   person outside the defense team, defined to include defendant, defense counsel,

   investigators, paralegals, and support staff. The Oral Order also stated that until further

   Order of the court, defense counsel may not leave Production 5 at the local jails.

          On December 7, 2018, in response to the government's "Emergency Motion for

   Discovery Limitations for Witness Safety," ECF No. 267, the court entered an order denying

   the government's motion, but temporarily extending the December 4, 2018 Oral Order until

   December 12, 2018. The government had until December 12, 2018 to ftle an additional

   motion for a protective order, more narrowly tailored and appropriately supported. No such




Case 4:18-cr-00011-MFU-RSB Document 279 Filed 12/14/18 Page 1 of 2 Pageid#: 865
   motion has been filed by the government. Therefore, pursuant to the court's December 7,

   2018 Order, the December 4, 2018 Oral Order is hereby VACATED.

         It is SO ORDERED.

                                            Entered:   / )--- / '] __. 2-CJ   (~
                                       /.,/7'f~ f. 'ltt~
                                            Michael F. Urbans ·
                                            ChiefUnited Sta s DistrictJudge




Case 4:18-cr-00011-MFU-RSB Document 279 Filed 12/14/18 Page 2 of 2 Pageid#: 866
